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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

                                          )
WILLIAM MOORE, Derivatively on Behalf     )   Cause No: 1:14-cv-01551-SEB-DML
of ENDOCYTE, INC.,                        )
                                          )
             Plaintiff,                   )
                                          )
      vs.                                 )
                                          )
JOHN C. APLIN, et al.,                    )
                                          )
              Defendants,                 )
                                          )
      and,                                )
                                          )
ENDOCYTE, INC.,                           )
                                          )
             Nominal Defendant.           )

                                         )
                                          )
VICTOR VELOSO, Derivatively on Behalf of )    Cause No: 1:14-cv-1787-SEB-DML
ENDOCYTE, INC.,                           )
                                          )
            Plaintiff,                    )
                                          )
     vs.                                  )
                                          )
JOHN C. APLIN, et al.,                    )
                                          )
            Defendants,                   )
                                          )
     and,                                 )
                                          )
ENDOCYTE, INC.,                           )
                                          )
            Nominal Defendant.            )
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                                                    )

                            ORDER CONSOLIDATING ACTIONS
                     AND APPOINTING CO-LEAD AND LIAISON COUNSEL

        It appearing that the above-captioned actions involve the same subject matter, and that the

    administration of justice would best be served by consolidating actions and appointing a

    leadership structure,



        IT IS HEREBY ORDERED that:

   1. The above-captioned derivative actions shall be consolidated for all purposes and any

        actions arising out of the same operative facts now pending or hereinafter filed in

        or transferred in to this Court, pursuant to Rule 42(a) of the Federal Rules of Civil

        Procedure.

   2. Hereinafter, papers need only be filed in Case No. 1:14-cv-01551-SEB-DML.

   3. The consolidated case caption shall be:

        IN RE ENDOCYTE, INC.                   )        CONSOLIDATED
        DERIVATIVE LITIGATION                  )        1:14-cv-01551-SEB-DML

   4. Lifshitz & Miller and Gainey McKenna & Egleston as hereby appointed Co-Lead

        Counsel.

   5.   Parr Richey Obremskey Frandsen & Patterson LLP, are hereby appointed as Liaison

        Counsel.

   6. All papers and documents previously served and filed in any of the cases consolidated

        herein are deemed part of the record in the consolidated action.

   7. Co-Lead Counsel shall be responsible for the overall conduct of the litigation on behalf of

        the plaintiffs, including the following:
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          a. Supervise all pretrial, trial and post-trial proceedings on behalf of the plaintiffs;

          b. Determine and present in motions, briefs, oral argument or such other fashion as

              may be appropriate, the position of all of the plaintiffs as to all matters arising

              during pretrial and trial proceedings;

          c. Designate attorneys to act as spokespersons at pretrial conferences and meetings

              with defendants;

          d. Negotiate and enter stipulations with defense counsel with respect to all matters in

              this litigation, including discovery and settlement matters;

          e. Conduct or coordinate discovery on behalf of the plaintiffs, including the

              preparation of interrogatories, requests for production of documents, requests for

              admissions, and the examination of witnesses in depositions;

          f. Coordinate the activities of plaintiffs’ counsel and implement procedures to ensure

              that schedules are met and unnecessary expenditures of time and funds are

              avoided.

          g. Collect time and expense reports from plaintiffs’ counsel on a periodic basis;

          h. Convene meetings of plaintiffs’ counsel;

          i. Delegate tasks to counsel for plaintiffs and otherwise coordinate the work of all

              plaintiffs’ counsel, and perform other such duties as deemed necessary;

          j. Allocate fees, in any are awarded by the Court; and

          k. Ensure that all plaintiffs’ counsel are kept informed of the progress of this

              litigation as necessary.



Date:   12/31/2014                                  _______________________________
                                                       SARAH EVANS BARKER, JUDGE
                                                       United States District Court
                                                       Southern District of Indiana
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